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UN|TED STATES OF A|VIER|CA

P|aintiff
VS.
CR. NO. 04-20499-D
JOD|E POPE
Defendant.

 

ORDER ON CONTlNUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause is set for a report date on |Vlay 19, 2005. Counsel for the defendant
moved the court for a continuance of the |V|ay 19, 2005 report date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Thursdav. Julv 21, 2005. at 9:00 a.m., in Courtroom 3. 9th F|oor of the
Federa| Building, l\/|emphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

rT is so oRoERED this [4*" day of iviay, 2005.

MM

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This notice confirms a copy of the document docketed as number 22 in
ease 2:04-CR-20499 Was distributed by faX, mail, or direct printing on
May ]9, 2005 to the parties listed.

 

 

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Jennifer lawrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Berniee Donald
US DISTRICT COURT

